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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
                v.
                                                         1:18-cr-00032-2-DLF
    CONCORD MANAGEMENT AND
    CONSULTING LLC,

         Defendant.


    DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S REPLY IN
            SUPPORT OF ITS MOTION TO COMPEL DISCOVERY

        Pursuant to Fed. R. Crim. P. 16, Defendant Concord Management and Consulting LLC

(“Defendant” or “Concord”), by and through undersigned counsel, respectfully submits this Reply

in Support of its Motion to Compel disclosure of the Department of the Treasury, Office of Foreign

Assets Control (“OFAC”) Designation and Blocking Memoranda, Evidentiary Memoranda, and

any exhibits referenced therein related to Concord, Concord Catering, and Yevgeniy Prigozhin

(collectively, “Defendants”). See ECF 229.

        I.     INTRODUCTION

        This is a simple motion. Concord seeks documents from OFAC related to Defendants’

designations under two different sanctions programs—the Cyber-related Sanctions and the

Ukraine Sanctions, as defined in the Motion to Compel (the “Motion”)—to which Concord is

entitled under the Federal Rules of Criminal Procedure because the government is in possession

of those documents and they are material to Concord’s defense.1 In particular, Concord requested


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  Concord noted in its Motion that to the extent there is classified information contained in the
requested documents, at this stage Concord is seeking only unclassified information and assumes
that classified information will be addressed in the government’s CIPA filing, due on January 10,
2020. Mot. at 4 n.3, ECF 229. In its Opposition, the government does not raise any concerns
about classified information.

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Designation and Blocking Memoranda, Evidentiary Memoranda, and related materials, including

exhibits referenced therein, prepared by OFAC related to the Defendants’ designation as Specially

Designated Nationals (“SDNs”). As set forth in Concord’s Motion, OFAC prepares Designation

and Blocking Memoranda and Evidentiary Memoranda to support its decision to designate an

individual or entity as an SDN and the Memoranda contain the factual support for that decision,

including references to incorporated exhibits.2

        The government has already accessed and reviewed the OFAC documents, clearly

demonstrating its ability to produce such documents. The Cyber-related Sanctions are directly

related to the allegations in the Indictment and the government itself has raised the Ukraine

Sanctions multiple times in its briefing throughout this case.

       The government has taken this simple discovery request and turned it into another guessing

game. The government concedes that it has accessed and reviewed the requested documents “as

if those records were in the possession of the government[,]” Opp. at 2 n. 1, ECF 253, but then

spends pages arguing that it is not in the possession, custody, or control of those documents

because OFAC is not “closely aligned” with the government, see, e.g., id. at 8-9. The government

also concedes that there is a “connection” between this litigation and the Cyber-related Sanctions

but then simply declares that “it does not follow” that the documents relating to those sanctions

are material. Id. at 10. The government also acknowledges having referred to the Ukraine

Sanctions throughout this litigation to support various arguments, but then proclaims that these


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  Concord referred to three cases where the government publicly filed Designation and Blocking
Memoranda, Evidentiary Memoranda, and the related exhibits. Mot. at 3-4. Concord was clear
with the Court about precisely the nature and procedural posture of each of these cases, making
clear that it was not arguing that those cases present similar fact patterns supporting its argument.
Id. Rather, Concord drew the Court’s attention to these cases to demonstrate the existence and
content of the documents it was seeking and to establish that its request was not a speculative
fishing expedition for documents that may or may not exist. Accordingly, the government’s efforts
to distinguish these cases are meaningless. Opp. at 12-13.

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references “do not reflect any connection” to the Indictment and that the related documents cannot

be material to Concord’s defense. Id. at 11-12. The government’s arguments are filled with

inaccuracies and contradictions and defy any sense of logic or fairness.

       The government has further perpetuated its gamesmanship by stealthily producing a small

number of documents from OFAC—without even the slightest signal to defense counsel that it

actually did so—and then asserting that it has met its discovery obligations. But the five

documents that the government buried in its most recent production on the date that discovery

closed are neither what Concord requested nor all that it is entitled to under the law.

       II.     LAW AND ARGUMENT

       Rule 16 discovery “disputes should be resolved in the defendants’ favor,” given that the

Rule is designed to provide the criminal defendant with the widest possible opportunity to inspect

the materials in the prosecution’s possession. See United States v. Karake, 281 F. Supp. 2d 302,

306 (D.D.C. 2003) (internal citations omitted); see also Fed. R. Crim. P. 16 Advisory Committee

Note to 1974 Amendment (explaining that discovery under Rule 16 “contributes to the fair and

efficient administration of criminal justice by providing the defendant with enough information to

make an informed decision as to plea; by minimizing the undesirable effect of surprise at the trial;

and by otherwise contributing to an accurate determination of the issue of guilt or innocence”).

Here, the government has failed to abide by the Rule’s guiding principle of fairness by refusing to

produce a narrow set of documents from OFAC’s files on Defendants’ sanctions that the

government has already accessed and reviewed, and that are directly material to Concord’s

defense, both of which the government has acknowledged in its briefing.

               A.      The Trial Team Has Possession, Custody, or Control of the Requested
                       Documents

       Despite admitting that the trial team actually reviewed the documents at issue in this

Motion, the government nevertheless argues to the Court that it does not have “possession,

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custody, or control” of these documents because OFAC was not part of the “‘prosecution team’

that investigated this case.” Opp. at 9. In doing so, the government completely ignores the relevant

test for determining “possession, custody, or control” in this Circuit, for which “courts have . . .

been more concerned with fairness to the defendant, on the one hand, and the government’s ease

of access to the documents sought, on the other, than with the issue of whether the documents are

in the physical possession of the prosecutor.” Libby, 429 F. Supp. 2d at 5 (quoting Poindexter,

727 F. Supp. at 1477); see also United States v. Archbold-Manner, 581 F. Supp. 2d, 22, 24 (D.D.C.

2008) (“The ‘control’ prong of the Rule 16 test generally focuses on the fairness to the defendants

rather than the semantics of whether or not the prosecutors actually hold the evidence at the time

that it should be produced.”) (internal citations omitted). Based on the prevailing law on this issue,

it is difficult to understand the government’s position that it does not have “possession, custody,

or control” over documents that it admits it accessed and reviewed.

       It must be noted that this was not the first time that the prosecution obtained documents

from OFAC. At the May 9, 2018 arraignment of Concord, the government admitted obtaining

undersigned counsel’s confidential submissions to OFAC regarding its representation of Concord.

See May 9, 2018 Hr’g Tr. 7:21-8:11.

       Rather than acknowledge the “ease of access” element and consider its implications, the

government cites to two out-of-Circuit cases to support its position that the government’s obtaining

and reviewing the documents “does not alter the Rule 16(a)(1)(E) analysis with respect to

‘possession, custody, or control.’” Opp. at 9 (citing United States v. Ferguson, 478 F. Supp. 2d

220, 239-40 (D. Conn. 2007) and United States v. Chalmers, 410 F. Supp. 2d 278, 290 (S.D.N.Y.

2006)). But Ferguson is not relevant to the current analysis and Chalmers actually supports

Concord’s argument, not the government’s position.




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       In Ferguson, the defendants moved to compel all documents in the physical possession of

the New York Attorney General’s Office (“NYAG”) pursuant to Brady v. Maryland, arguing that

the United States worked with the NYAG in the initial stages of the investigation to conduct

witness interviews, which imputed full knowledge of the NYAG’s investigation to the

government. 478 F. Supp. 2d at 238-39. The government opposed the motion by arguing that it

did not conduct a joint investigation with the NYAG and had no obligation or ability to produce

the documents sought. Id. at 238. In relevant part, the government previously disclosed all notes

taken jointly with the NYAG in the defendants’ joint interviews and agreed to review the files

again to ensure disclosure of any notes taken in the other joint witness interviews; however, the

government “never had access to the NYAG’s files, interview summaries, notes, or other work

product.” Id. at 239. In short, Ferguson did not involve the Rule 16 “possession, custody, or

control” analysis or the “ease of access” inquiry applied by D.C. courts.

       Chalmers, on the other hand, did involve a Rule 16 discovery request and supports

Concord’s position. Pursuant to Rule 16(a)(1)(E) and Brady, the defendants moved to compel

discovery of “materials within the custody and control of all government agencies that have

investigated the United Nations Oil-for-Food Program or that oversaw the Program,” which

included the Department of State, its constituent agency the United States Mission to the United

Nations, the Department of Treasury, and the Iraq Survey Group, which included participants from

the Department of Defense and Central Intelligence Agency. 410 F. Supp. 2d at 287. One

defendant also requested documents from the National Security Agency and the United States

Congress. Id. Much like this case, the government opposed the motion arguing “that Rule 16 and

Brady only require production of documents within the possession, custody, or control of the

prosecution, not the entirety of the Executive and Legislative Branches.” Id. After examining the

relevant authority, the court concluded that “the prosecution must disclose documents material to


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the defense (1) that it has actually reviewed, or (2) that are in the possession, custody, or control

of a government agency so closely aligned with the prosecution so as to be considered part of the

‘prosecution team.’” Id. at 289-290 (emphasis added). The defendants had conceded that the

documents that were actually reviewed by the prosecution team had already been disclosed or soon

would be. Id. 290. It was only with respect to the second category that the portion quoted in the

government’s Opposition is relevant, which does not apply here. Id.

       There is no question as to the trial team’s “ease of access” to the documents from OFAC—

the trial team was able to obtain and review the requested documents and had previously obtained

other documents from OFAC. See Opp. at 2 n. 1 (“the government did review the requested

records and provided Concord any records to which it would be entitled, under Rule 16 or

otherwise, as if those records were in the possession of the government.”) (emphasis added). In

the interest of fairness and logic, the OFAC documents should be deemed to be in the possession,

custody, or control of the prosecution for discovery purposes.

               B.      The Requested Documents are Material to the Defense

       The government’s argument regarding materiality also defies logic.            “[E]vidence is

material to preparing the defense ‘as long as there is a strong indication that it will play an

important role in uncovering admissible evidence, aiding witness preparation, corroborating

testimony, or assisting impeachment or rebuttal.’” Libby, 429 F. Supp. 2d at 7 (quoting United

States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993)). This is “not a heavy burden” and materiality

includes both inculpatory and exculpatory evidence. Id.

       The government has conceded—as it must, because it is true—that there is a connection

between this allegations in the Indictment and the Cyber-related Sanctions. It also acknowledges

its repeated references throughout these proceedings to the Ukraine Sanctions. Yet the government

nevertheless argues that OFAC’s documents relating to these sanctions cannot possibly be material


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to the defense. In short, the government believes that “fairness to the defendant” includes allowing

a different government agency to rely on the allegations in the Indictment to designate the

Defendants as SDNs and repeatedly referring to the Defendants’ designation in its filings to the

Court while keeping secret the materials and information related to those designations.

        With respect to the Cyber-related Sanctions, the government acknowledges both that

OFAC’s announcement of the sanctions specifically referred to the Indictment in this case and that

there is a “connection” between the Indictment and the sanctions. Opp. at 5, 10 (“OFAC’s

announcement referred to the initial indictment in this case.”).3 However, on the same page where

the government admits a connection between the Indictment and these sanctions, it also argues

that these sanctions “play no role whatsoever in the Indictment.” Id. at 10.

        But there is more than a mere “connection”—the Cyber-related Sanctions are directly

related to the allegations in the Indictment. Not only did OFAC refer to the Indictment in its press

release announcing the designation, OFAC simultaneously designated each and every one of

Concord’s alleged co-conspirators (and no one else). See Press Release, Department of the

Treasury, Treasury Sanctions Russian Cyber Actors for Interference with 2016 U.S. Elections and

Malicious Cyber-Attacks (Mar. 15, 2018), https://home.treasury.gov/news/press-releases/sm0312

(the “Press Release”) (announcing designation of “three entities and 13 individuals,” and listing

the 16 defendants named in the Indictment). Despite the fact that the Indictment was pending and

no individual or entity had yet been convicted of any crime, OFAC’s Press Release announced

that:

        the Internet Research Agency (IRA) tampered with, altered, or caused a
        misappropriation of information with the purpose or effect of interfering with or

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  In both instances, the government refers to “the initial indictment,” seeming to suggest that there
is some material difference in the factual allegations contained therein as it relates to the materiality
analysis. As the Court is well aware, there is virtually no difference in the factual allegations of
the initial Indictment and the Superseding Indictment.

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       undermining election processes and institutions. Specifically, the IRA tampered
       with or altered information in order to interfere with the 2016 election. The IRA
       created and managed a vast number of fake online personas that posed as legitimate
       U.S. persons to include grassroots organizations, interest groups, and a state
       political party on social media. Through this activity, the IRA posted thousands of
       ads that reached millions of people online. The IRA also organized and coordinated
       political rallies during the run-up to the 2016 election, all while hiding its Russian
       identity. Further, the IRA unlawfully utilized personally identifiable information
       from U.S. persons to open financial accounts to help fund IRA operations.

Id. As to Mr. Prigozhin and Concord, the Press Release announced that they provided material

assistance to the IRA: “Specifically, Prigozhin funded the operations of the IRA. . . . Concord

Management and Consulting LLC, which is controlled by Prigozhin, provided funding to the IRA.

. . . Concord Catering, which is controlled by Prigozhin, provided funding to the IRA.” Id. The

Press Release then identifies each of the other individual co-defendants named in the Indictment

and summarizes their connection to the IRA in the same way as is alleged in the Indictment.

Compare, e.g., id. (identifying Dzheykhun Nasimi Ogly Aslanov and stating that he “acted as the

head of the translator product, a department which focused on the United States and conducted

operations on multiple social media platforms. He also oversaw many of the operations that

targeted the 2016 election.”) with Indictment ¶ 19, ECF 1 (alleging Aslanov was “head of the

translator project and oversaw many of the operations targeting the 2016 U.S. presidential

election”) and id. at ¶ 10(d) (alleging the “translator project” “focused on the U.S. population and

conducted operations on social media platforms”). The same thing is true for each and every co-

defendant—OFAC’s press release relating to the Cyber-related Sanctions lifts verbatim from the

Indictment.

       As to the Ukraine Sanctions, the government takes the ludicrous position that even though

it has repeatedly referred to these sanctions throughout the course of this case when describing the

allegations in the Indictment, the sanctions “are entirely irrelevant to the underlying charge.” Opp.




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at 11.4 But the government’s effort to downplay its frequent references to the Ukraine Sanctions

simply begs the question of why the government explained the sanctions in briefing on a wide

range of legal issues if they are “entirely irrelevant.” Further, the government’s insinuation that it

has only raised the sanctions in the context of tangential matters unrelated to the allegations in the

Indictment is incorrect. On at least three separate occasions, the government referred to the

sanctions immediately following its recitation of the allegations in the Indictment. See ECF 20 at

4 (paragraph containing three sentences inaccurately describing the allegations in the Indictment

and then stating “Prigozhin and both Concord entities charged in the Indictment are currently under

sanctions by the U.S. Department of Treasury” and referring to both sets of sanctions in a footnote).

See also ECF 47 at 8 & n.3 (noting that the Defendants were designated under the Ukraine

Sanctions at the time of the Indictment); ECF 56 at 2 n. 2 (same). So the government’s suggestion

that it has not raised the issue of the sanctions in connection with the allegations in the Indictment

is simply incorrect. See Opp. at 11.

       Finally, the government’s assertion that “[n]one of the allegations in the Indictment

reference or relate to OFAC or any sanctions imposed on any of the defendants,” Opp. at 4, may

be true but it is irrelevant. The test for materiality is not whether the allegations in the Indictment

refer to the materials being requested, but whether there is a “strong indication” that the materials

being requested will play an important role in uncovering admissible evidence, aiding witness

preparation, corroborating testimony, or assisting impeachment or rebuttal. Libby, 429 F. Supp.

2d at 7. Concord is at a loss to say what would provide a stronger indication of materiality than

direct quotes from the Indictment in the press release announcing the designation and multiple



4
  Ironically, while making the argument that OFAC’s designation of the Defendants are not
relevant to this case, the government goes out of its way to note for the Court that OFAC imposed
additional sanctions just a few weeks ago. See Opp. at 5.

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references in relation to the allegations in the Indictment in briefing from the government. The

requested Designation and Blocking Memoranda, Evidentiary Memoranda, and any exhibits

referenced therein contain the government’s justification for designating the Defendants under

these sanctions programs. These documents are material to Concord’s defense.

               C.     The Government Has Not Produced the Requested Documents

       In its Opposition, the government boldly states that it “has provided to Concord any OFAC

records to which it would be entitled, under Rule 16 or otherwise, as if those records were subject

to Rule 16(a)(1)(E) discovery.” Opp. at 7. This statement came as a shock to undersigned counsel

who has been specifically looking for OFAC documents in the government’s document

productions. In every instance that the government has produced in discovery documents obtained

from government agencies or departments, the government has indicated the agency or department

in both the cover letter and the production itself, and the documents produced clearly stated that

they came from a particular agency or department within the government.

       On October 18, 2019, the deadline for the government to complete any final discovery and

Brady notice pursuant to the Court’s Scheduling Order (ECF 214), the government made a

production of over 53,000 documents.        In its cover letter transmitting the production, the

government explained that it included two folders—one folder containing documents relating to a

related investigation and the other folder containing “Additional Materials in the Government’s

Possession.”5 Within the folder titled “Additional Materials,” there was a single pdf file titled

“Additional Materials.” This file contains what appears to be five separate, random documents

including a printout of Concord’s website, a Dun & Bradstreet report about Concord, Concord’s

Russian incorporation record, a printout of an article from a Russian newspaper, and document


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 The October 18, 2019 letter contains information the government has designated as U.S. Sensitive
pursuant to the Protective Order and so Concord is not attaching it to this filing.

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identifying dates relating to a Russian entity other than Concord. There was no indication in the

production file, the cover letter, or the document itself that these documents came from OFAC. It

is worth noting that this obfuscation came after the government’s cryptic written response that it

would produce discoverable materials “if there are any such materials.” See Mot. at 5 and Ex. 6

thereto, ECF 229 and 229-6.

       Because of the statement in the Opposition that the government had produced documents

from OFAC, undersigned counsel asked the government for clarification. Ex. 1, Nov. 20-21, 2019

Email. The government responded that the single pdf file titled “Additional Materials,” were the

documents obtained from OFAC and that there “were no other OFAC records produced.” Id. It

remains a mystery why the government changed its practice of clearly indicating in its productions

the source of the documents, including from within the government.

       In other words, despite suggesting as much in its Opposition, the government has not

produced the Designation and Blocking Memoranda or the Evidentiary Memoranda to Concord.

       III.    CONCLUSION

       For the reasons set forth above, the requested records are in the possession, custody, or

control of the government and are material to Concord’s defense. As such, the Court should grant

Concord’s Motion.




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Dated: November 26, 2019                 Respectfully submitted,

                                         CONCORD MANAGEMENT AND
                                         CONSULTING LLC

                                         By Counsel

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